     Case 2:24-cv-10744-AB-JC   Document 29 Filed 03/06/25    Page 1 of 2 Page ID
                                       #:161


1
2
3
4
5
6
7
8
                            UNITED STATES DISTRICT COURT
9
                           CENTRAL DISTRICT OF CALIFORNIA
10
                                                  Case No. 2:24-cv-10744-AB-JC
11      MICHAEL ARCHER,
12                                                ORDER GRANTING JOINT
                         Plaintiff,
        v.                                        STIPULATION TO EXTEND
13                                                DEFENDANTS’ TIME TO
14                                                RESPOND TO FIRST AMENDED
        NBCUNIVERSAL MEDIA, LLC
        and UNIVERSAL PICTURES                    COMPLAINT
15      HOME ENTERTAINMENT LLC
        d/b/a GRUV.COM,
16
17                       Defendants.
18
19
20
21
22
23
24
25
26
27
28

                                              1
     Case 2:24-cv-10744-AB-JC    Document 29 Filed 03/06/25      Page 2 of 2 Page ID
                                        #:162


1                                          ORDER
2            The Parties’ Joint Stipulation Extending Defendants’ Time to Respond to
3      First Amended Complaint is GRANTED. Defendants’ time to file a responsive
4      pleading in this action shall be extended by 7 days through and including March
5      12, 2025.
6
7            IT IS SO ORDERED.
8
9       Dated: March 6, 2025            _______________________________________
10                                      HONORABLE ANDRÉ BIROTTE JR.
                                        UNITED STATES DISTRICT COURT JUDGE
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                 2
